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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


HM FLORIDA-ORL, LLC,
       Plaintiff,
              v.                                      Case No. 6:23-cv-00950
MELANIE GRIFFIN, in her official capacity
as Secretary of the Department of Business
and Professional Regulation, State of Florida,
       Defendant.


            DEFENDANT’S MOTION FOR A PARTIAL STAY
          PENDING APPEAL OF PRELIMINARY INJUNCTION

      On May 17, 2023, Governor Ron DeSantis signed the Protection of Children

Act into law. See Fla. Laws ch. 2023-94 (SB 1438) (DE 21-1). The Act makes it a

misdemeanor to “knowingly admit a child to an adult live performance.” Fla. Stat.

§ 827.11(3), (4). It defines an “adult live performance” as a sexually explicit show

that the adult community of the state would consider patently offensive “for the

age of the child present.” Id. § 827.11(1)(a).

      On June 23, 2023, this Court accepted Plaintiff’s contention that statute vi-

olates the First Amendment and is unconstitutionally vague. The Court prelimi-

narily enjoined the statute, not just as to Plaintiff, but also as to any other person

or entity. DE 29 at 23. The following day, the Court amended its opinion, but left

the injunction unchanged. DE 30 at 25. Defendant has appealed. DE 31.

      Defendant respectfully requests that the Court, pending appeal, stay that in-

junction to the extent it applies to parties other than Plaintiff. As Defendant argued


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in opposition to the preliminary injunction, Plaintiff faces no credible threat of en-

forcement from the challenged statute, because the types of performances that they

say they wish to present are not barred by it. DE 21 at 18–20. But the Court’s in-

junction also sweeps beyond Plaintiff to nonparties who may wish to expose chil-

dren to live obscene performances in violation of the statute. The portion of the

injunction that applies to nonparties threatens Florida, and the children Florida

enacted the law to protect, with irreparable harm, and is beyond the Court’s reme-

dial authority. The Court should therefore stay its injunction pending appeal to the

extent it applies to anyone other than Plaintiff.

                                        ARGUMENT

      The Court may stay its own injunction order pending appeal. Fed. R. Civ. P.

62(d); see Fed. R. App. P. 8(a)(1) (requiring parties “ordinarily” to “move first in

the district court” for such relief). Whether to grant a stay pending appeal turns on

four factors:

      (1)       the likelihood the moving party will prevail on the merits;

      (2)       the prospect of irreparable injury to the moving party if relief is with-
                held;

      (3)       the possibility of harm to other parties if relief is granted; and

      (4)       the public interest.

11th Cir. R. 27-1 (b)(2). Here, every factor favors a stay.




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      A.     Defendants Are Likely to Succeed on Appeal in Narrowing
             the Injunction to Plaintiff.

      In granting a preliminary injunction, this Court rejected Defendant’s argu-

ments that Plaintiff lacks standing to sue and that the statute is constitutional. DE

30 at 15–24. Defendant disagrees with the Court on both scores and fully intends

to renew those arguments in its briefing on appeal. But she does not now assert

them as the basis for a stay pending appeal.

      Instead, Defendant seeks only a limited stay pending appeal of the injunc-

tion to the extent it applies to nonparties. Defendant argued that any preliminary

injunction the Court entered should be limited to Plaintiff. DE 21 at 24. The Court

rejected that contention and enjoined enforcement of the statute against anyone.

DE 30 at 25. The Eleventh Circuit is substantially likely to reverse that ruling on

appeal.

      The Eleventh Circuit is “both weary and wary” of the “drastic form of relief”

that characterizes “universal” injunctions applicable “to plaintiffs and nonplain-

tiffs alike.” Georgia v. President of the United States, 46 F.4th 1283, 1303 (11th

Cir. 2022). 1 Such injunctions “push against the boundaries of judicial power.” Id.

That power is “bounded by both historical practice and traditional remedial prin-

ciples.” Id. (citing Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527




      1 The Georgia opinion was a fractured ruling, with Judge Grant writing only
for herself as to parts I through IV of the opinion. But part V of the opinion, which
addressed the scope of the injunction, was also joined by Judge Anderson. See
Georgia, 46 F.4th at 1308 (Anderson, J., concurring in part and dissenting in part).

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U.S. 308, 318 (1999)). And the traditional scope of injunctive relief under that

power was limited to what is necessary “to protect the interests of the parties.” Id.

For that reason, equitable remedies are limited to those “sufficient to redress” a

party’s “injury.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 166 (2010)

(holding a nationwide injunction inappropriate on this basis).

       Here, party-specific relief is sufficient to redress Plaintiff’s asserted injury.

That injury was the claimed “chilling effect” flowing from Plaintiff’s alleged fear

that the challenged statute could be enforced against it. DE 30 at 11. But now the

injunction prevents Defendant from enforcing the statute against Plaintiff. Apply-

ing the injunction to nonparties is thus “more burdensome to the defendant than

necessary to provide complete relief to the plaintiffs.” Califano v. Yamasaki, 442

U.S. 682, 702 (1979); see also Kentucky v. Biden, 57 F.4th 545, 557 (6th Cir. 2023)

(“Because an injunction limited to the parties can adequately protect the plaintiffs’

interests while the case is pending disposition on the merits, the district court

abused its discretion in extending the preliminary injunction’s protection to non-

part[ies].”).

       That analysis is unaltered by the fact that this is a case in which Plaintiff

asserts that the statute exerts a chilling effect on the speech of parties not before

the Court. Plaintiff’s substantive constitutional theory does not control the scope

of the permissible remedy. That is why the Supreme Court routinely limits reme-

dies to the parties even when it accepts a party’s First Amendment overbreadth

claim premised on the chilling effects of a statute as applied to the speech of


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nonparties. See United States v. Nat’l Treas. Emps. Union, 513 U.S. 454, 472, 477–

78 (1995) (limiting relief to “the parties before the Court” in a successful over-

breadth challenge because “we neither want nor need to provide relief to nonpar-

ties when a narrower remedy will fully protect the litigants”); United States v. Ste-

vens, 559 U.S. 460, 482–84 (2010) (Alito, J., dissenting) (preferring to vacate de-

fendant’s criminal conviction, rather than hold the statute defendant violated to be

facially invalid, based on an overbreadth claim).

      The Eleventh Circuit recently relied on those principles to stay pending ap-

peal a universal injunction entered on First Amendment overbreadth grounds. In

that case, the district court had preliminarily enjoined as unconstitutionally over-

broad a provision of the Florida Constitution that, in the district court’s view, in-

jured two plaintiffs by precluding them from engaging in lobbying activities during

their time in public office. See Garcia v. Stillman, No. 22-cv-24156, 2023 WL

2263609, at *4, *6 (S.D. Fla. Feb. 28, 2023). The district court’s injunction applied

universally, not just to those two plaintiffs. See id. at *12. The district court had

also refused to grant Florida a partial stay pending appeal of the injunction to the

extent it applied beyond those plaintiffs, reasoning that “an exception exists” to the

principle that injunctive relief should be limited to the parties in cases involving

“the chilling effects of overbroad statutes.” Garcia v. Stillman, No. 22-cv-24156,

2023 WL 3478450, at *2 (S.D. Fla. May 16, 2023). A unanimous panel of the Elev-

enth Circuit—consisting of Judges Jill Pryor, Grant, and Luck—disagreed. The

Court stayed the preliminary injunction to the extent it applied beyond those two


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plaintiffs, reasoning that “the need to protect third parties” did not justify nonparty

relief. Garcia v. Exec. Dir., Fla. Comm’n on Ethics, No. 23-10872 (11th Cir. June 5,

2023) (DE 33 at 2). The Court should do the same here.

      B.     The Remaining Stay Factors Favor Defendant

      Defendant will suffer irreparable harm without a stay. “Any time a State is

enjoined by a court from effectuating statutes enacted by representatives of its peo-

ple, it suffers a form of irreparable injury.” Maryland v. King, 567 U.S. 1301, 1303

(2012) (Roberts, C.J., in chambers) (alteration accepted) (citation omitted).

      The “balance of harms” and the “public interest” both favor a stay as well.

Swain v. Junior, 958 F.3d 1081, 1090 (11th Cir. 2020). If the injunction were not

stayed, the State would suffer the sovereign harm of having one of its laws en-

joined, and its children would lack the protection of the challenged statute against

obscene adult live performances. Meanwhile, Plaintiff will suffer no harm whatso-

ever because Defendant does not ask the injunction to be stayed as it applies to

Plaintiff, only as to nonparties.

      As for the public interest, any plaintiff who wants to challenge the statute

has the tools to do so. Georgia, 46 F.4th at 1306–07. The public interest is served

by demanding that non-parties avail themselves of those tools: It “encourages mul-

tiple judges . . . to weigh in only after careful deliberation,” whereas “universal in-

junctions tend to force judges into making rushed, high-stakes, low-information

decisions.” Dep’t of Homeland Sec. v. New York, 140 S. Ct. 599, 600 (2020)




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(Gorsuch, J., concurring); see also Feds for Med. Freedom v. Biden, 25 F.4th 354,

360 (5th Cir. 2022) (Higginson, J., dissenting).

                                 CONCLUSION

       The preliminary injunction should be stayed pending appeal to apply only to

Plaintiff.

                  LOCAL RULE 3.01(g) CERTIFICATION

       Consistent with Local Rule 3.01(g), counsel for Defendant has conferred

with counsel for Plaintiff by telephone in a good-faith effort to resolve the issues

raised in the motion. Plaintiff opposes the motion.

                                             Respectfully submitted,

 June 28, 2023                               ASHLEY MOODY
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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 28, 2023, a true and correct copy of the forego-

ing was filed with the Court’s CM/ECF system, which will provide service to all

parties.

                                      /s/ Nathan A. Forrester
                                      Senior Deputy Solicitor General




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